            Case 5:11-cv-01846-LHK Document 660-4 Filed 01/25/12 Page 1 of 3



 1   APPLE INC., a California corporation,
 2                 Plaintiff,
            vs.
 3
     SAMSUNG ELECTRONICS CO., LTD., a
 4
     Korean business entity, SAMSUNG
 5   ELECTRONICS AMERICA, INC., a New
     York corporation, and SAMSUNG
 6   TELECOMMUNICATIONS AMERICA,
     LLC, a Delaware limited liability company,   Civil Action No. 11-CV-01846-LHK
 7
                   Defendants.
 8
     SAMSUNG ELECTRONICS CO., LTD., a             DECLARATION OF SAKU HIETA
 9   Korean business entity, SAMSUNG
     ELECTRONICS AMERICA, INC., a New
10   York corporation, and SAMSUNG                PUBLIC REDACTED VERSION

11   TELECOMMUNICATIONS AMERICA,
     LLC, a Delaware limited liability company,
12                 Counterclaim-Plaintiffs,
13          v.
14   APPLE INC., a California corporation,
15                 Counterclaim-Defendant.

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                                                                       Declaration of Saku Hieta
                                                                    Case No. 11-cv-01846 (LHK)
            Case 5:11-cv-01846-LHK Document 660-4 Filed 01/25/12 Page 2 of 3




            I, SakuHieta~ declare as follows:

 2          1.     I have been continuously employed by Apple Inc. since October 4, 2010 as Senior
 3
     Manager,Wireless Procurement. My responsibilities include managing the supply chain for the
 4
     baseband processor chips incorporated in Apple's iPhone and iPad products.
 5
                   Apple has sold the iPhone 3G, iPhone 308, iPhone 4, iPad 3G, and iPad 2 3G in
 6
 7   the United States. The iPhone 3G, iPhone 30S, iPhone 4 (UMTS version), iPad 3G, and iPad 2

 8   3G (UMT8 version) that have been sold in the United States contain

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                     hat have been used in the iPhone 3G, iPhone 3GS, iPhone 4 (UMTS version),
12
     iPad 3G, and iPad 2 3G (UMTS version) sold in the United States.
13
            4.     On January 3 1, 2011, Intel Corporation announced the completion of the
14
15   acquisition of the Infineon Technologies AG Wireless Solutions business. I

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27          http://newsroom.intel.com/comrnunity/intel_newsroomlblog/2011/01/31/intel-completes-

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                                                                                Declaration of Saku Hieta
                                                                             Case No. ll-cv-01846 (LHK)
            Case 5:11-cv-01846-LHK Document 660-4 Filed 01/25/12 Page 3 of 3



 1          I declare under penalty of perjury that the foregoing is true and correct to the best of my

 2   knowledge. Executed on this 21 st day of January, 2012, in Cupertino, California.
 3

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 6
                    Saku Hieta                                    Dated: January 21,2012
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13   acquisition-of-infineon-s-wireless-solutions-business

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                                                                                  Declaration ofSaku Hieta
                                                                               Case No. l1-cv-O 1846 (LHK)
